Case 2:17-cv-09193-FMO-E Document 89-10 Filed 05/23/19 Page 1 of 16 Page ID #:2068




                                                  PETERSON · BRADFORD · BURKWITZ




       JOINT EVIDENTIARY
           APPENDIX




                         EXHIBIT 5
                   Lucy Ulikhanova, et al. v. County of Los Angeles, et al.
                                (2:17-CV-09193-FMO-E)
Case 2:17-cv-09193-FMO-E Document 89-10 Filed 05/23/19 Page 2 of 16 Page ID #:2069




                                         Litigation Support Services



                                  2/11/2019


   PETERSON BRADFORD BURKWITZ
   ATTN: RYAN GRAHAM (SBN: 310186) / LILLIANA ROSALES
   100 NORTH FIRST STREET, SUITE 300
   BURBANK, CA 91502-0000




                           WORK ORDER NUMBER: 499334-02


   CASE:                 LUCY ULIKHANOVA, ET AL.
               VS.
                         COUNTY OF LOS ANGELES, ET AL.

   RE:                   P.G.                 AKA: P.G., A MINOR
   FILE:                 2003-COLA
   CLAIM #:              181142137*001
   ADJUSTER:

   LOCATION:             EL PROYECTO DEL BARRIO, INC.




    Ph. (800) 331-0006            www.ronsin.com                       Fx. (800) 249-2375




                                                                                            COLA_002020
Case 2:17-cv-09193-FMO-E Document 89-10 Filed 05/23/19 Page 3 of 16 Page ID #:2070
 Ao 888 (Rev. 2/14 I Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises In a Civil Action


                                             United States District Court
                                                    for the
                              CENTRAL DISTRICT of UNITED STATES DISTRICT COURT
   LUCY ULIKHANOVA, ET AL

                                 PLAINTIFF                                                Civil Action No. 2:17-CV-9193-FMO-E
                                     v.
   COUNTY OF LOS ANGELES, ET AL

                                 DEFENDANT

                        SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS
                          OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION
  TO:          CUSTODIAN OF RECORDS OF: EL PROYECTO DEL BARRIO, INC., 20800 SHERMAN WAY,
               WINNETKA, CA 91306 Telephone No. (818) 883-2273 x 212
                                                        (Name of per5an to whOm this subpoena is directed)
          ra    Production: YOU ARE COMMANDED to produce at the time, date and place set forth below the
                following documents, electronically stored information, or objects, and to permit inspection, copying,
                testing, or sampling of the material:
                See attachment to Subpoena in a Civil Case.



   Place:                                   Phone: (909) 594-5995                                            Date and Time:
    RONSIN                                                                                                    1/22/2019 9:00 AM
    215 S. LEMON CREEK DRIVE, WALNUT CA 91789



          □     Inspection ofPremises: YOU ARE COMMANDED to permit entry onto the designated premises,
                land, or other property possessed or controlled by you at the time, date, and location set forth below,
                so that the requesting party may inspect, measure, survey, photograph, test, or sample the property or
                any designated object or operation on it.
 IPlace:                                                                                               I Date and Time:
      The following provisions of Fed. R. Civ. P. 45 are attached - Rule 45(c), relating to the place of compliance;
  Rule 45(d), relating to your protection as a person subject to a subpoena, and Rule 4S(e) and (g), relating to your
  duty to respond to this subpoena and the potential consequences ofnot doing so.
  Date:     Decemher 20, 2018
                                             CLERK OF COURT
                                                                                             OR

                                                Signature of Clerk or Deputy Clerk                                   Attorney's signature




  The name, address, e-mail, and telephone number of the attorney representing (nameotpa,ty) DEFENDANT
  COUNTY OF LOS ANGELES, ET AL., who issues or requests this subpoena, are:
  RYAN GRAHAM (SBN: 310186), PETERSON BRADFORD BURKWITZ, 100 NORTH FIRST STREET, SUITE 300 BURBANK, CA
  91502-0000, (818) 562-5800




                                                Notice to the person who issues or requests this subpoena
               If this subpoena commands the production of documents, electronically stored information, or tangible things or the
               inspection of premises before trial, a notice and a copy of the subpoena must be served on each party in this case
               before it is served on the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).                        499334 _021Ao&sB<




                                                                                                                                            COLA_002021
Case 2:17-cv-09193-FMO-E Document 89-10 Filed 05/23/19 Page 4 of 16 Page ID #:2071
  ,.
  AO 88B (Rev. 2/14 ) Subpoyna to Pro~~1ce Documents, Information, or Oblects or to Permit Inspection of Premises In a Civil Action (Page 2)

• C_ivil Action ~o. 2:17-CV-9193-FMO-E


                                                             PROOF OF SERVICE
                               (This section should not be filed with the court unless required by Fed. R. Civ. P. 45.)

          I received this subpoena for (name of individual and title, if any) EL PROYECTO DEL BARRIO, INC.
  on (date}      c>/-08-          ('fl              ,A.f'i;vn,9"'   If.
          ~erved the subpoena by delivering a copy to the named individual as follows:.,/ _ 0 8             -If
                                                                          on (date) ___ ; or


          D   I returned the subpoena unexecuted because ;



          Un!ess the subpoena was issued on behalf of the United States, or one of its officers or agents, I have also tendered to the witness
          fees for one day's attendance, and the mileage allowed by law, in the amount of
          $      l'y ·c=

 My fees are $ _ _ for travel and $ _ _ for services, for a total of$ _ __


          I declare under pena!ty of perjury that this information is true.




 Date:     or_ ,::,8 _ I :;i




                                                                                                      Printed name and title
                                                                                                Registration No.: 2015197812
                                                                                                           RONSIN
                                                                                    215 S, LEMON CREEK PBIYE, WALNUT CA, 91789
                                                                                                        Server's Address

 Additional information regarding attempted seNice, etc:




                                                                                                                                 CPROOF28p21499334




                                                                                                                                               COLA_002022
     Case 2:17-cv-09193-FMO-E Document 89-10 Filed 05/23/19 Page 5 of 16 Page ID #:2072
 ,    . ....
       AO BBB (Rev. 2/14 ) subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises In a Civil Action (Page 3)
         '


                                         • Federal Rule of Civil Procedure 45 (c),(d) and (e) (Effective 12/1/13)
(c) Place of Compliance.                                                           (Ii) disclosing an unretained expert's opinion or information that does not
  (1) For a Trial, Hearing, or Deposition.A subpoena may command a                 describe specific occurrences in dispute and results from the expert's
  person to attend a trial, hearing, or deposition only as follows:                study that was not requested by a party.
    (AJ within 100 miles of where the person resides, is employed, or                {C) Specifying Conditions as an Alternative. In the circumstances
    regularly transacts business in person; or                                       described in Rule 45(c)(3)(B), the court may, instead of quashing or
    (BJ within the state where the person resides, is employed, or regularly         modifying a subpoena, order appearance or production under specified
   transacts business in person, if the person                                       conditions if the serving party:
     (I) is a party or a party's officer; or                                           (i) shows a substantial need for the testimony or material that cannot
     (ii) is commanded to attend a trial and would not incur substantial               be other.-vise met without undue hardship; and
     expense.                                                                          (ii) ensures that the subpoenaed person will be reasonably
                                                                                       compensated.
{2) For Other Discovery. A subpoena may command:
  (A) production of documents, electronically stored information, or               (e) DUTIES IN RESPONDING TO A SUBPOENA,
  tangible things at a place within 100 miles of where the person resides, is
  employed, or regularly transacts business in person; and                           (1) Producing Documents or Electronically Stored Information.
  (BJ inspection of premises at the premises to be inspected.                        These procedures apply to producing documents or electronically stored
                                                                                     information:
(d) Protecting a Person Subject to a Subpoena; Enforcement.                            (A) Documents. A person responding to a subpoena to produce
  (1) Avoiding Undue Burden or Expensej Sanctions.A party or attorney                  documents must produce them as they are kept in the ordinary course
  responsible for issuing and seiving a subpoena must take reasonable                  of business or must organize and label them to correspond to the
  steps to avoid imposing undue burden or expense on a person subject to               categories in the demand.
  the subpoena, The court for the district where compliance is required                (8) Fann for Producing Electronically Stared Jnfonnation Not Specified. If
  must enforce this duty and impose an appropriate sanctions - which may                a subpoena does not specify a form for producing electronlcally stared
  include lost earnings and reasonable attorney's fees - on a party or                 information, the person responding must produce it in a form or forms
  attorney who fails to comply.                                                        in which it is ordinarily maintained or in a reasonably usable form or
                                                                                       forms.
  (2) Command to Produce Materials or Permit Inspection.                               (C) Electronically Stored Information Produced in Only One Form. The
    (A} Appearance Not Required. A person commanded to produce                         person responding need not produce the same electronically stored
     documents, electronically stored information, or tangible things, or to           information in more than one form.
     permit the inspection of premises, need not appear in person at the               (D) Inaccessible Electronically Stored lnfonnation. The person
     place of production or inspection unless also commanded to appear for             responding need not provide discovery of electronically stored
     a deposition, hearing, or trial.                                                  information from sources that the person identifies as not reasonably
     (8) Objections. A person commanded to produce documents or                        accessible because of undue burden or cast. On motion to compel
     tangible things or to permit inspection may serve on the party or                 discovery or for a protective order, the person responding must shaw
     attorney designated in the subpoena a written objection to inspecting,            that the information is not reasonably accessible because of undue
     copying, testing or sampling any or all of the materials or to inspecting         burden or cost. If that showing is made, the court may nonetheless
     the premises - or to producing electronlcally stored information in the           order discovery from such sources if the requesting party shows good
     form or forms requested. The objection must be served before the                  cause, considering the limitalions of Rule 26(b)(2)(C). The court may
     earlier of the time specified for compliance or 14 days after the                 specify conditions for the discovery.
     subpoena is served. If an objection is made, the following rules apply:
       (i) At any time, on notice to the commanded person, the serving party         (2) Claiming Privilege or Protection.
       may move the court for the district where compliance is required for            (A) lnfonnation Withheld. A person withholding subpoenaed information
       an order compelling production or inspection.                                   under a claim that it is privileged or subject to protection as
       (Ii) These acts may be required only as directed in the order, and the          trial-preparation material must:
       order must protect a person who is neither a party nor a party's officer           (i) expressly make the claim; and
       from significant expense resulting from compliance.                                (ii) describe the nature of the withheld documents, communications,
                                                                                          or tangible things in a manner that, without revealing information itself
  (3) Quashing or Modifying a Subpoena.                                                   privileged or protected, will enable the parties to assess the claim.
    (A) When Required. On timely motion, the court for the district where              (8) lnfonn.ation Produced. If information produced in response to a
    compliance is required must quash or modify a subpoena that:                       subpoena is subJect to a claim of privilege or of protection as
      (i) fails to allow a reasonable time to comply;                                  trial-preparation material, the person making the claim may notify any
      (ii) requires a person to comply beyond the geographical limits                  party that received the information of the claim and the basis for it. After
      specified in Rule 45(c);                                                         being notified, a party must promptly return, sequester, or destroy the
      (iii) requires disclosure of privileged or other protected matter, if no         specified information and any copies it has: must not use or disclose
      exception or waiver applies: or                                                  the inf_ormatlon until the claim is resolved; must take reasonable steps
      (iv) subjects a person to undue burden.                                          to retrreve the information if the party disclosed it before being notified;
  (8) When Pennitted. To protect a person subject to or affected by a                  and may promptly present the information under seal to the court for
  subpoena, the court for the district where compliance is required may, on            the district where compliance is required for a determination of the
  motion, quash or modify the subpoena if it requires:                                 claim. The person who produced the information must preserve the
      (i) disclosing a trade secret or other confidential research,                    information until the claim is resolved.
      development, or commercial information; or
                                                                                   (g) CONTEMPT. The court for the district where compliance is required -
                                                                                   and also, after a motion is transferred, the issuing court - may hold in
                                                                                   contempt a person who, having been served, fails without adequate
                                                                                   excuse to obey the subpoena or an order related to it.




                                   For access to subpoena materials, see Fed. R. Civ. P. 45(a) Committee Note (2013).




                                                                                                                                                   CPROOF29/499334




                                                                                                                                                        COLA_002023
Case 2:17-cv-09193-FMO-E Document 89-10 Filed 05/23/19 Page 6 of 16 Page ID #:2073

                                           RONSIN
                                     WALNUT CA, 91789
                           Phone: (909) 594-5995 Fax: (909) 598-2308


                                        Case Number: 2:17-CV-9193-FMO-E
        Case Name: LUCY ULIKHANOVA, ET AL.
                     vs.
                      COUNTY OF LOS ANGELES, ET AL.


                                       ATTACHMENT 3



The records to be produced are described as follows:
 THE RECORDS REQUESTED ARE regardless of date FOR THE FOLLOWING TYPES OF
 RECORDS:   ANY AND ALL MEDICAL RECORDS, DOCUMENTS, MEDICAL REPORTS,
 INCLUDING DOCTORS' ENTRIES, NURSES' CHARTS, PROGRESS REPORTS, PHYSICAL
 THERAPY RECORDS, PATHOLOGY REPORTS, X-RAY REPORTS, LAB REPORTS, CASE
 HISTORY, EMERGENCY ROOM RECORDS, ADMITTING SHEETS, SPECIAL TESTS, INPATIENT
 AND OUTPATIENT RECORDS, AND ANY SIGN-IN SHEETS, INCLUDING BUT NOT LIMITED TO
 ANY RECORDS/DOCUMENTS THAT MAY BE STORED DIGITALLY AND/OR ELECTRONICALLY
 PERTAINING TO THE CARE AND TREATMENT, DIAGNOSIS, PROGNOSIS, CONDITION,
 DISCHARGE, AFFECTING OR RELATING TO P.G.            AKA: P.G., A MINOR, DOB:
 ll/5/2010, SS#: . TO INCLUDE RECORDS FROM DR. SHAISTA PARVEEN.




                                                                         499334-D21GENATT3




                                                                                COLA_002024
Case 2:17-cv-09193-FMO-E Document 89-10 Filed 05/23/19 Page 7 of 16 Page ID #:2074
                                      ..                      RONSIN
           ..                                     215 S. LEMON CREEK DRIVE
                                            WALNUT, CA 91789 PH: (800) 331-0006
                                           Registered Los Angeles County# 2015197812

                                  DECLARATION OF CUSTODIAN OF RECORDS
 Regarding:        P.G.                                AKA:   P.G.,         A MINOR
 SS#                                                          DOB:      November 05, 2010                            OurFile#       499334
 Location:       EL PROYECTO DEL BARRIO,                         INC. , 2 0 8 0 0 SHERMAN WAY, WINNETKA, CA


 I, the undersigned, being the duly authorized Custodian of Records and having authority to certify the records declare
 the following:
           CERTIFICATION OF RECORDS COPIED
           The records were prepared by the personnel of the business in the ordinary course of business at or near
           the time of the act, condition, or event. I testify to its identity and the mode of its preparation; and the
           sources of information and method of time of preparation were such as to indicate its trustworthiness. The
           c~y is a true copy of all the documents requested:
                 MEDICAL □ XRAYS ON FILM/CD □ BILLING                        □ EMPLOYMENT
                 DENTAL □ PHOTOGRAPHS □ PATHOLOGY □ ELECTRONICALLY STORED DOCUMENTS
            D    OTHER
           described in the subpoena duces tecum/deposition subpoena or:

           Pursuant to Evidence Code Section 1560(e), the original records described in the subpoena duces
           tecum/deposition subpoena were delivered to the attorney or the attorney's representative for copying at
           the witness' place of business.
           CERTIFICATION OF NO:

□          □
           □
              RECORDS
              XRAYS
                             □
                             □
                                   RECORDS ARE LOST/DESTROYED
                                   NO RECORDS EXIST FOR DATES REQUESTED □ PHOTOGRAPHS
                                                                                       D DENTAL

           D  BILLING        D PATHOLOGY                                               D OTHER
           A. A thorough search of our files, carried out under my direction and control revealed no documents,
               records or other things called for in the subpoena duces tecumldeposition subpoena presented to me.
         That, it is understood that such records could exist under another spelling, name or classification, that
           B.
         with the information furnished, and to the best of our knowledge, no such records exist in our files.
 I DECLARE UNDER PENALTY OF PERJURY AND UNDER THE LAWS OF THE STATE OF CALIFORNIA
 THAT THE FOREGOING IS TRUE AND CORRECT.
  Executed on       l='eilaru:u-y 7, 'J.Ol'.3                          at         Av: \-e ?tc,
                                                                                  •                 C
                                                                                                                                      , California


  Print Name         t'-JO...V\C'{ l,.\;;M§K,)j t'.!l:eYJr°:;2         Signed     'flr~ ~~~
                                           DO NOT WRITE BELOW THIS LINE FOR OFFICE USE ONLY

  CERTIFICATION OF PROFESSIONAL PHOTOCOPIER
 □ I am the attorney or the attorney's representative and I state that I made true copies of all the original records
           delivered to me by the Custodian of Records of the above indicated location.

 I   'XI  I am the attorney or the attorney's representative and I state that original records were not made available to me
          by the Custodian of Records of the above indicated location and that I received copies of records from the
          Custodian.
     I DECLARE UNDER PENALTY OF PERJURY AND UNDER THE LAWS OF CALIFORNIA THAT THE
     FOREGOING IS TRUE AND CORRECT.
     Executed on               c,;;i__ O 7 -   / .',                   at                                                             , California

  Print Name                   Rmlr                                    Signed
  Pursuant to Business and Professtons Code Section 2462, I will maintain the integrity and confidentiality of informa on obtained under the
  applicable codes and distribute the records copied by RONSlN to the authorized person~entities.

  Ord9r#: 499334-02/RPROOF59                                                By:   ~          ~ OJ..k-
                                                                                  _) ~ - -_.....,_
                                                                                        Thomas D. Alkema, Ronsin Litigation Support Seivices




                                                                                                                                        COLA_002025
   Case 2:17-cv-09193-FMO-E Document 89-10 Filed 05/23/19
                                                    P.G. Page 8 of 16 Page ID #:2075
2/512019                                                        Summary View fo



                                                                                                          P.G.
                                                                                                   6Y 5M
     E:I Fro~ecto del Barrio, Inc.                                                                      Account Number: 176055
                                                                                         8718 Laurel Cyn Bl, Sun Valley, CA-91352
                                                                                                          Home: 818-388-4609
                                                                     Guarantor: P.G.                Insurance: 1 MEDICAL Payer
                                                                                                                      ID:CAMCD
                                                                                                      Referring: Shaista Parveen
                                                                  Appointment Facility: EL PROYECTO DEL BARRIO INC ARLETA

                                                                                             Progress Notes: Shaista Parveen, MD


    Current Medications                              Reason for Appointment
    None                                             1. Wt check/ vaccine.

    Past Medical History                             History of Present Illness
    No Medical History.                              New /Follow-ug Patient:
                                                        nasal congestion off and on
    Surgical History                                    no fever.
    None
                                                     Vital Signs
    Family History                                   Ht 42.5 in, Wt 40.9 lbs, BMI 15.92 Index, Temp 98.2 F, HR 96 /min, BP
    Father: unknown
    Mother: unknown                                  92/60 mm Hg, RR 18 /min, Pain scale o 1-10, Ht-cm 107.95, Wt-kg 18.55, Wt
    Paternal Grand Father. unknown                   % 16.52, BMI % 65.12 %, Ht% 2.78
    Paternal Grand Mother: unknown                   Bdelatorre MA.
    Maternal Grand Father. unknown
    Maternal Grand Mother: unknown                   Examination
    Social History                                   General Examination:
    Tobacco Use:                                         GENERAL APPEARANCE: well developed, well nourished, in no acute
    Tobacco Use/Smoking                              distress.
      Are you a nonsmoker                                HEAD: normocephalic, atraumatic.
                                                         EYES: pupils equal, round, reactive to light and accommodation, sclera
    Allergies                                        non-icteric.
    peanuts
                                                         EARS: TM's normal.
    Hospitalization/Major                                NOSE: nares patent,scant dry secretions .
                                                         ORAL CAVITY: mucosa moist.
    Diagnostic Procedure
    None
                                                         TIIROAT: clear.
                                                         NECK/THYROID: neck supple, full range of motion.
    Review of Systems                                    SKIN: warm and dry.
    General/Constitutional:                              HEART: regular rate and rhythm, S1, S2 normal, no murmurs.
       Change in appetite-denies. Fever denies.          LUNGS: clear to auscultation bilaterally.
   Qi!hthalmologic:                                      ABDOMEN: soft, nontender, nondistended, bowel sounds present,
        Discharge denies. Eye Pain denies.           normal.
   ENT:
                                                         EXTREMIDES: no clubbing, cyanosis, or edema.
   -Decreased hearing denies. Sore
                                                         NEUROLOGIC: nonfocal.
   throat denies. Swollen glands denies.
   Endocrine:                                        Assessments
       Excessive thirst denies. Weight
                                                     1. Vaccine for unspecified disease - Vo5.9 (Primary)
   loss denies.
   ~iratozy;                                         2. Nasal congestion - 4 78.19
       Cough denies. Shortness of breath at
                                                     Immunization
   rest denies. Wheezing denies.
   Cardiovascular:                                   IPV : 0.5 mL given by Rosa Sanchez on Right Deltoid
       Che.st pain with exertion denies. Shortness   Flu 3 & up (no preservative) : 0.5 mL (Dose No:1) given by Rosa Sanchez on
   of breath denies.                                 Right Deltoid
   Gastrointestinal:
       Abdominal pain denies. Diarrhea denies.       Procedure Codes




https://caepdbapp.ecwcloud.com/mobiledoc{jsp/webemr/index.jsp#/mobiledoc/jsp/webemr/progressnotes/physiciansdashboard/dashboard.jsp/%78%2...   1/2


                                                                                                                                    COLA_002026
      Case 2:17-cv-09193-FMO-E Document 89-10 FiledP.G.  05/23/19 Page 9 of 16 Page ID #:2076
21512019                                Summary View for

      Nausea d(.ai1ies. Vomiting denies   .                90686 FLU VAC NO PRSV 4 VAL 3 YRS+
  ~   Genitouljl.nan::                                     90713 POLlOVIRUS, IPV, SC
          Blood in urine denies. Difficulty
      urinating denies. Frequent urination denies.         Follow Up
      Musculoskeletal:                                     prn
          Painful joints denies. Wealmess denies.
      Skin:
      -Dry skin denies. Itching denies.
      Neurologi_£:
          Dizziness denies. Headache denies.




                                                           Electronically signed by Shaista Parveen , MD on 04/29/2017 at
                                                           02:13PMPDT
                                                           Sign off status: Completed




                                                                              EL PROYECTO DEL BARRIO INC ARLETA
                                                                                      8902 WOODMAN AVE
                                                                                     ARLETA, CA 91331-6401
                                                                                        Tel: 818-830-7033
                                                                                       Fax: 818-830-7280




                   Patient:          P.G.             DOB: 11/05/2010        Progress Note: Shaista Parveen, MD 04/21/2017
                                          Note generated by eCfinicafWorks EMR!PM Software (VAvw.eCJinicaJWorks.com)




https://caepdbapp.ecwcloud.com/mobiledoc/jsp/webemr/index.jsp#/mobiledoc/jsp/webemr/progressnotes/physiciansdashboard/dashboard.jsp/%78%2...   2/2


                                                                                                                                    COLA_002027
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                                          Summary View for P.G.
2/5/2019                                     #:2077

                                                                                                        P.G.
                                                    -.                                           6Y 2M old Female, DOB: 11/05/2010
     cl Pro9ecto del Barrio, Inc.                                                                          Account Number: 176055



                                               •
                                                          .
                                                     .                                    P.G.
                                                                        Guarantor: P.G.            Insurance: 1 MEDICAL Payer
                                                                                                                    ID:CAMCD
                                                                                                     Referring: Shaista Parveen
                                                                   Appointment Facility: EL PROYECTO DEL BARRIO INC ARLETA

  02/02/2017                                                                                Progerss Notes: Shaista Parveen, MD


    Current Medications                              Reason for Appointment
    None                                             1. foster   mom states pt here for lab results. URI. Lab Results -NL

    Past Medical History                             History of Present Illness
    No Medical History.                              New /Follow-ull Patient:
                                                        runny nose and cough
    Surgical History                                    sx for last few days
    Denies Past Surgical History                        fever
                                                        nov/d
    Family History
                                                        sick contacts
    Father: unknown
    Mother: unlmown                                      decreased appetite per report.
    Paternal Grand Father: unknown                      needs Lab results.
    Paternal Grand Mother: unknown
    Maternal Grand Father: unknown                   Vital Signs
    Maternal Grand Mother: unlmown
                                                     Ht 42.5 in, Wt 41.4 lbs, BMI 16.11 Index, Temp 99.1 F, HR 130 /min, BP
    Allergies                                        94/64 mm Hg, Ht-cm 107.95, Wt-kg 18.78, Wt% 25.24, BMI % 70.39 %, Ht
    peanuts                                          %5.64
                                                     vm-ma.
    Hospitalization/M ajor
                                                     Examination
    Diagnostic Procedure
    Denies Past Hospitalization                      General Examination:
                                                        HEAD: normocephalic, atraumatic.
    Review of Systems                                   NOSE: nares patent.
    Genera1 /Constitutional:                            NOSE: normal-clear nasal d/c noted.
        Change in appetite denies. Fever denies.        11:IROAT: clear.
    .QnhthalmolQgi.J;
                                                        11:IROAT: normal, clear, no erythema, no exudate, pharynx normal, tonsils
        Discharge denies. Eye Pain denies.
                                                     normal, ....
    ENT:
    -Decreased hearing denies. Sore                     SKIN: no suspicious lesions, warm and dry.
    throat denies. Swollen glands denies.
                                                        SKIN: warm and dry.
    Endocrine:                                          HEART: regular rate and rhythm.
        Excessive thirst denies. Weight                 HEART: regular rate and rhythm, S1, S2 normal, no murmurs.
    loss denies.                                        ABDOMEN: normal, bowel sounds present, soft, nontender,
    ResP.:iratoI"Y.;                                 nondistended.
        Cough denies. Shortness of breath at            ABDOMEN: soft, nontender, nondistended, bowel sounds present,
    rest denies. Wheezing denies.                    normal.
    Cardiovascular:                                     EXTREMmES: no clubbing, cyanosis, or edema.
       Chest pain with exertion denies. Shortness
    ofbreath denies.                                 Assessments
    Gastrgintestinal:                                1.   URI (upper respiratory infection) -465.9 (Primary)
        Abdominal pain denies. Diarrhea denies.
    Nausea denies. Vomiting denies.                  Treatment
    GenitourinMr.                                    1. URI (upper respiratory infection)
           Blood in urine denies. Difficulty         Notes: SND /Humidifier
    urinating denies. Frequent urination denies.




httpsJ/caepdbapp.ecwcloud.com/mobiledoc/jsp/webemr/index.jsp#/mobiledoc/jsp/webemr/progressnotes/physiciansdashboard/dashboard.jsp/%78%2...   1/2


                                                                                                                                   COLA_002028
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2/5/2019                                  Summary View fo P.G.
                                             #:2078
   Musculoskeletal:                                  Push fluids
       Painful joints denies. Weakness denies.       Prop up to sleep.
   Skin:
   --Dry skin denies. Itching denies.
   Neurologi_,£:
                                                     2. Others
       Dizziness denies. Headache denies.
                                                     Notes: NL Labs -results d/w family.


                                                     Follow Up
                                                     pm




                                                     Electronically signed by Shaista Pan•een, MD on 02/07/2017 at
                                                     04:28PMPST
                                                     Sign off status: Completed




                                                                        EL PROYECTO DEL BARRIO INC ARLETA
                                                                                8902 WOODMAN AVE
                                                                               ARLETA, CA 91331-6401
                                                                                  Tel: 818-830-7033
                                                                                  Fax: 818-830-7280




              Patient:          P.G.             DOB: 11/05/2010       Progress Note: ShaistaParveen, MD 02/02/2017
                                   Note generated by eClinicafWorks EMRIPM Software (www;eClinicafWorks.com)




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                                                                                                                                    COLA_002029
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                                          Summary View fo P.G.
2/5/2019                                     #:2079

                                                                                                         P.G.
                                                                                                  6Y 2M old Female, DOB: 11/05/2010
    cl Pro_1fdO de! 5arrio, Inc.                                                                            Account Number: 176055



                                            •
                                                          '
                                                     .                             P.G.
                                                                       Guarantor: P.G.           Insurance: 1 MEDICAL Payer
                                                                                                                  ID:CAMCD
                                                                                                   Referring: Shaista Parveen
                                                                 Appointment Facility: EL PROYECTO DEL BARRIO INC ARLETA

                                                                                             Progress Notes: Shaista Parveen, MD


    Current Medications                              Reason for Appointment
   None                                               6 year wee.
                                                     1.


    Past Medical History                             History of Present Illness
    No Medical History.                              Interval HistoIY.:
                                                         h/o? Sexual Abuse in 2015.
    Surgical History                                     Lives with: parents .
    Denies Past Surgical History                         Family support: yes, partner involved with care .
                                                         Primary care giver: mother .
    Family History
    Father: unlmown
                                                         Interim Illness: none.
    Mother: unknown                                      Accidents: none .
    Paternal Grand Father: unknown                       Sleep: sleeps through the night ,.
    Paternal Grand Mother: unknown                       Sees/Hears: well - as reported by parent , eyes straight always .
    Maternal Grand Father: unknown
    Maternal Grand Mother. unknown
                                                         Early childhood intervention programs: no .
                                                         Vaccine reactions: none.
    Allergies                                            Emergency room visits: none .
    N.KD.A.                                              Home remedies: none .
                                                         Dental visit: yes, Date of Visit: (02/2017) .
    Hospitalization/Major                            Nutrition:
    Diagnostic Procedure                                 Diet: good eating habits, well balanced diet , good appetite, adequate milk
    Denies Past Hospitalization                      intake , no mealtime problems reported, regular meal times .
                                                         Feeding problems: none reported .
    Review of Systems
    General/Constitutional:
                                                         Food allergies: none .
        Overall health No changes. Denies Change
                                                         Stool (bowel movement): regular with normal consistency.
    in appetite. Denies Fever. Denies Weight gain.       Vitamins/health supplements: none .
    Denies Weight loss.                                  Voiding (urine): well.
    Allergv /Immunology:                             DeveloP.mental Assessment:
        Patient denies itching, hives, rash,             Personal - Social appropriate behavior for age as reported , assists or
    sneezing.                                        independently does chores , appropriate peer interaction .
    Cardiovascular:                                      Fine Motor -Adaptive fair to good writing skills , ties shoelaces .
       Patient denies chest pain, dizziness.
    Gastrointestinal:
                                                         Language tells time , reads for pleasure , knows left from right , can recite
       Patient denies abdominal pain,
                                                     alphabet.
    constipation, diarrhea, heartburn.                   Gross Motor Functions good hand to eye co-ordination .
    Skin:                                            KeY. FamilY. Checks:
        Patient denies dry skin, eczema.                 Parents health/rest: good, no new health problems.
                                                         Child care /day care: not used.
                                                         Family support system good support system , extended family involved .
                                                         Mother returned to: work .
                                                         Concerns for abuse/neglect: none .
                                                         Substance abuse in the family: none .
                                                         Lead risk factors: none per history .
                                                         Regular schedule: yes.
                                                         Financial support: good , both parents work .




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           Case 2:17-cv-09193-FMO-E Document 89-10 Filed     05/23/19 Page 13 of 16 Page ID
215/2019                                  Summary View fo P.G.
                                             #:2080
                                                          Parents agree on discipline: yes.
                                                          Sibling rivalry: none .
                                                          Family change: none .
                                                          Patients temperament: gets along well .
                                                          Activities: active as a family .
                                                          Firearms at home: no .
                                                          Family time: separates family times for all siblings , vacation/excursions
                                                       regularly.
                                                          Television time/Video games: parent actively controls television /video
                                                       game times.
                                                          Nutrition/diet: well balanced diet, good eating habits.
                                                           Patients school/work: started elementary school - doing well .
                                                           Legal issues/child support services: none.
                                                       New /Follow-up Patient:
                                                          TB questionarre -Negative.
                                                       Vital Signs
                                                       Ht 42.5 in, Wt 41.8 lbs, BMI 16.27 Index, Temp 98.3 F, HR no /min, BP
                                                       92/62 mm Hg, RR 20 /min, Pain scale o 1-10, Ht-cm 107.95, Wt-kg 18.96,
                                                       Wt % 27.57, BMI % 73.28 %, Ht% 5.64
                                                       jmacias ma.
                                                       Examination
                                                       General Examination:
                                                            GENERAL APPEARANCE: alert, well nourished.
                                                            HEAD: normocephalic, atraumatic.
                                                            EYES: extraocular movement full and smooth, pupils equal, round,
                                                       reactive to light and accommodation, sclera anicteric.
                                                            EARS: tympanic membrane intact, clear, BOTH EARS, auditory canal
                                                       clear, BOTH EARS.
                                                            NOSE: nares patent, no lesions.
                                                            ORAL CAVTIY: mucosa moist, no lesions, palate normal, , tongue in
                                                       midline.
                                                           THROAT: clear, no erythema, no exudate, pharynx normal, tonsils normal,
                                                       uvula midline.
                                                            NECK/THYROID: neck supple, full range of motion, no
                                                       lymphadenopathy.
                                                            LYMPH NODES: no axillary, supraclavicular or inguinal adenopathy.
                                                            SKIN: good turgor,, no suspicious lesions.
                                                            HEART: regular rate and rhythm, S1, S2 normal, no murmurs.
                                                            LUNGS: clear to auscultation bilaterally, good air movement.
                                                            CHEST: normal shape and expansion.
                                                           ABDOMEN: soft, nontender, nondistended, bowel sounds present,
                                                       normal, no organomegaly .
                                                            BACK: normal exam of spine.
                                                           FEMALE GENITOURINARY: normal, no hernia.
                                                           MUSCULOSKELETAL: no swelling or deformity, full range of motion.
                                                           EXTREMIDES: no edema, , full range of motion, no clubbing, cyanosis, or
                                                       edema, good capillary refill in nail beds.
                                                            PERIPHERAL PULSES: normal, 2+ throughout.
                                                            NEUROLOGIC: normal strength, tone and reflexes, alert and oriented,
                                                       nonfocal.
                                                       Sta)dng Healthy Assessments:
                                                           3 - 4 Years - Staying Healthy Assessment
                                                             1. Does your child drink or eat 3 servings of calcium-rich foods daily,
                                                       such as milk, cheese, yogurt, soy milk, or tofu? Yes
                                                             2. Does your child eat fruits and vegetables at least two times per day?
                                                        Yes




                                                  !
                                                   '
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         Case 2:17-cv-09193-FMO-E Document 89-10 Filed 05/23/19 Page 14 of 16 Page ID
 215/2019                               Summary View for P.G.
                                           #:2081
                                                             3. Does your child eat high fat foods, such as fried foods, chips, ice
                                                       cream, pizza more than once per week? No
                                                             4. Does your child drink more than one small cup (4 - 6 oz. cup) of juice
                                                     · per day? No
                                                             5. Does your child drink soda, juice drinks, sports drinks, energy
                                                       drinks, or other sweetened drinks more than once per week? No
                                                             6. Does your child play actively most days of the week? Yes
                                                             7. Are you concerned about your child's weight? No
                                                             8. Does your child watch TV or play video games less than 2 hours per
                                                       day Yes
                                                             9. Does your home have a working smoke detector?" Yes
                                                             10. Have you turned your water temperature down to low-warm Oess
                                                       than 120 degrees)? Yes
                                                             11. If your home has more than one floor, do you have safety guards on
                                                       the windows and gate for the stairs? Yes
                                                             12. Does your home have cleaning supplies, medicines, and matches
                                                       locked away? Yes
                                                             13. Does your home have the phone number of the Poison Control
                                                       Center (800-222-12 22) posted by your phone? Yes
                                                             14. Do you always stay with your child when she/he is in the bathtub?
                                                        Yes
                                                             15. Do you always place your child in a forward facing car seat in the
                                                       back seat? Yes
                                                             16. Is the car seat you use the right one for the age and size of your
                                                       child? Yes
                                                             17. Do you always check for children before backing your car out? Yes
                                                             18. Does your child spend more time near a swimming pool, river, or
                                                       lake? No
                                                            19. Does your child spend time in a home where a gun is kept? No
                                                             20. Does your child always wear a helmet when riding a bike,
                                                       skateboard, or scooter? Yes
                                                            21. Has your child ever witnesses or been a victim of abuse or violence?
                                                       No
                                                            22. Do you help your child brush and floss her/his teeth daily? Yes
                                                            23. Does your child spend time with anyone who smokes? No
                                                            24. Do you have any other questions or concerns about your child's
                                                       development, health or behavior? No
                                                       Pediatric TB Risk Assesment:
                                                           Pediatric TB Risk Assessment
                                                            Was your child born in a high-risk country? No
                                                            Has your child travel to a high-risk country for more than1 week? No
                                                   l        Has a family member or contact had tuberculosis disease? No
                                                   [        Has a family member had a positive TSTor IGRA result? No
                                                       Assessme nts
                                                       1. Well child check - Zoo.129 (Primary)
                                                       2. Encounter for immunizatio n - Z23
                                                   f Treatment
                                                   I 1.    Well child check
                                                   I       LAB: CBC (H/H, RBC, INDICES, WBC, PLI)_(,7.59)_(0rdered for
                                                       fil.L!9.Lgm7).
                                                           LAB: URINALYSIS, COMPLETE W /REFLEX TO CULTURE (3020 J.
                                                       .(Ordered for 01/1q/2017.).
                                                           PROCEDURE: Hearing Audio Screening
                                                           PROCEDURE: Vision Screening
                                                   f
                                                   ! Procedures
                                                   f Hearing screen:

                                                   f



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           Case 2:17-cv-09193-FMO-E Document 89-10 Filed 05/23/19 Page 15 of 16 Page ID
                                          Summary View for P.G.
215/2019                                     #:2082
                                                           Right ear: 25/2000, 25/3000, 25/4000, 25/1000.
                                                   ,       Left ear: 25/1000, 25/2000, 25/3000, 25/4000.

                                                   I   Vision screen:
                                                           Right eye 20/20.
                                                           Left eye 20/20.
                                                           Both eyes 20/20.
                                                       Immunization
                                                       Flu 3 & up (no preservative) : 0.5 mL (Dose No:3) given by Rosa Sanchez on
                                                       Left Deltoid
                                                       DTaP : 0.5 mL (Dose No:2) given by Rosa Sanchez on Left Deltoid
                                                       Hep B, adolescent or pediatric (11-19), 3 dose schedule: 0.5 mL (Dose No:2)
                                                       given by Rosa Sanchez on Right Deltoid
                                                       Hep A, ped/adol, 2 dose: 0.5 mL (Dose No:2) given by Rosa Sanchez on
                                                       Right Deltoid

                                                        Labs
                                                         Lab: CBC (H/H, RBC, INDICES, WRC, PLI)_(17.59)_(0rdered for
                                                    ' 01(19/2017.).
                                                         Lab: URJNALYSIS, COMPLETE W /REFLEX TO CULTURE (3020).
                                                      _(Ordered for 01(19/2017.).
                                                       Preventive Medicine
                                                      Handouts Given:
                                                        Fever control tylenol dosing handout given , motrin dosing handout
                                                     given.
                                                        Nutrition/Development .
                                                        Parenting tips .
                                                        Book given (reading program) .
                                                      Health Promotion:
                                                        Oral health brush teeth - small aniount of flouride toothpaste, dental
                                                      appointment.
                                                        Sexual health sexual development.
                                                        Smoke exposure .
                                                        Assess lead risk .
                                                        Personal hygiene .
                                                     Injury Prevention/Safety:
                                                        Appropriate car seat .
                                                        Bike safety always wear helmet , wear protective knee/ elbow pads ,
                                                     appropriate footwear.
                                                        Child proof home .
                                                        Drugs/alcohol/tobacco unsafe habits discussed.
                                                        Hot water safety ( <125 degrees F) .
                                                        Install and/or check smoke alarms regularly .
                                                        Playground safety .
                                                        Poison control Telephone number 1800 222 1222.
                                                   t Stranger - safety tips .
                                                   f Supervision matches/poisons/guns.
                                                   I, Water safety supervised water activities, swim with a buddy, water
                                                   1 safety.
                                                     Nutrition Counseling:
                                                        Drink from cup .
                                                        Healthy food choices: no forced foods , family meals as often as possible,
                                                     limit or eliminate junk food.
                                                        Llmitjuice < 8 ounces per day .
                                                        Self-feeding variety, safe table foods.
                                                        Supervise eating .
                                                        Whole milk limit 16-24 oz/day.




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                                       Summary View for P.G.
21512019                                  #:2083
                                                     Social/Behavioral Counseling:
                                                       Activities/Duties responsible for some household activities, organized
                                                     sports/activities.
                                                       After school child care .
                                                        Bedtime routine .
                                                        Discipline no spanking , institute some discipline/time- outs, rules of
                                                     behavior.
                                                       Encourage reading read to child regularly - especially at bedtime.
                                                        Family time play time, short excursions.
                                                        Friends knows childs friends/families.
                                                        Hobbies .
                                                       Opportunity to e>.-plore .
                                                       Play group interactive talking, singing and reading, community
                                                     programs.
                                                        Praise good behavior .
                                                       School issues classroom review , homework supervision.
                                                       Stranger anxiety .
                                                       TV/game time limit and control TV and game time.
                                                      Procedure Codes
                                                      92081 VISUAL FIELD EXAMINATION(S)
                                                      92552 PURE TONE AUDIOMETRY, AIR
                                                      90700DTap
                                                      90686 FLU VAC NO PRSV 4 VAL 3 YRS+
                                                      90633 HEP A VACC, PED/ADOL, 2DOSE
                                                      90744 Hepatitis B (11-19 Yrs)
                                                      Follow Up
                                                      1 Year, 2 Weeks




                                                     Electronically signed by Shaista Parveen , MD on o 1/25/2017 at
                                                     02:08 PM PST
                                                     Sign off status: Completed




                                                                        EL PROYECTO DEL BARRIO INC ARLETA
                                                                                8902 WOODMAN AVE
                                                                               ARLETA, CA 91331-6401
                                                                                  Tel: 818-830-7033
                                                                                 Fax: 818-830-7280




               Patient:         P.G.            DOB: 11/05/2010        Progress Note: Shaista Parveen, M.D           01/19/2017
                                   Note generated by eC!inicalWorks EMR/PM Software (www.eCfinicalWorks.com)




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